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 jar:   03/23/89;     5/12/89;    5/15/89;     5/16/89;       5/18/89;     5/31/89;
        6/30/89;   7/20/89;     8/4/89
                e)  LAWL    OANS Program Rules dated June 1, 1989 and with
         respect  to loans made under a Memorandum of Agreement1989dated                  (the
         May 10,  1989, LAWLOANS        Program Rules dated May 10,
         "Program   Rules");
               f)   Rules and Regulations           of the Surety applicable              to
                                                                               "Rules    and
        all Insured Loans dated September 15, 1986 (the
        Regulations     of the Surety");
               g) Letter      Agreement regarding            confidentiality        between
        HICA and Sallie       Mae.
                                                                                      and
        3) Sale and Purchase Agreement between Norwest S.D.
 Sallie   Mae; and
        4) Other agreements           as may be necessary            to effect     electronic
                        processing      and   schoo l    as   holder    arrang ement s.
 loan origination
        This Multiparty       Agreement is intended              to set forth in general
                     of the parties        with respect         to  those subjects        which
 the agreements                                                    should    there    be  any
 concern all of the parties            hereto.     Howe    ver,
                    between the provis      ions      of   this    Multip arty     Agree ment
 inconsistency
 and a Related Agreement,           the provisions         of the Related Agreement
 shall control.        An agreement will be deemed a Related Agreement edif
 so designated      herein or if so designated               in the agreement execut
 by .the parties     to the agreement.
         It is understood    and agreed by the parties          hereto that since
                    of Law   Schoo l  Admis sion   Servic es,     Inc.,     from the Law
 the withdrawal                                                     consis tent   with
 Plan Multiparty     Agreement dated July 1, 1986, and
 that agreement,     the parties     have implemented       substi tute
 arrang ement s  by  this  Agree ment    to continue     to make loans available
 to law students      for the costs of     their   legal    education.


                         C. COMPONENTS     OF THE LAWLOANS      PROGRAM

                        Borrowers:      The LAWLOANS     program is available         to
           Eligible                                                      ited    laws
  students      enrolled    in Ameri  can   Bar  Assoc iation     accred
                                                                     ished     their
  schools in the United States and which have establ              with    the United
  eligibility        for the Stafford      and SLS programs
  States      Depar tment   of  Educa tion   or with respect       to Law Student Loans
  such other law schools           as individually      approv ed    by the parties.

         Loans:      The loans     available      to eligible      borrowers     are:

          l)  Stafford    (formerly     "Guaranteed")       student    loans (herein
               loans"),   Supplemental       Loans   to   Studen ts   (herein     "SLS
  "Stafford                                                     Loans   under   Title    IV,
  loans"),    Refinanced    Loans, and     Conso lidatio n
                                           Act  of   1965,    as   amend ed,  and    the
  Part B of the Higher Education                             "the Act").      Stafford,
  regulations     promulgated     thereunder     (herein
                               loans originated        under the     LAWL    OANS program
  SLS and Consolidation                                         the  United    States
  shall be guaranteed       by HEAF and reinsured          by

                                                 3


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